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 5
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 6
     SHERIDA DEVINE
 7

 8                                UNITED STATES DISTRICT COURT

 9                        DISTRICT OF NEVADA - SOUTHERN DIVISION

10

11   SHERIDA DEVINE,
12                                                     Case No.:
                    Plaintiff,
13                                                     COMPLAINT AND DEMAND FOR
            vs.                                        JURY TRIAL
14
     GC SERVICES, LP; and DOES 1 to 10,                (Unlawful Debt Collection Practices)
15   inclusive,
                                                       Demand Does Not Exceed $10,000
16                  Defendants.
17

18

19                                            COMPLAINT
20
                                            L INTRODUCTION
21
            1. This is an action for actual and statutory damages brought by Plaintiff, Sherida Devine
22
     (hereinafter "Plaintiff"), an individual consumer, against Defendant, GC Services, LP
23

24   (hereinafter "Defendant"), for violations of the Fair Debt Collection Practices Act, 15 U.S.C. §

25   1692 et seq. (hereinafter "FDCPA"), which prohibits debt collectors from engaging in abusive,
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     deceptive, and unfair practices.
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                                  COMPLAINT & DEMAND FOR JURY TRIAL
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 1
 2                                             II. JURISDICTION
 3
            2. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1337.
 4
     Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and 2202. Venue in this District is
 5
     proper in that the Defendant transacts business here.
 6
 7                                                III. PARTIES

 8          3. Plaintiff, Sherida Devine, is a natural person with a permanent residence in North Las
 9
     Vegas, Clark County, Nevada 89031.
10
            4. Upon information and belief, the Defendant, GC Services, LP, is a corporation
11
     engaged in the business of collecting debt in this state and in several other states, with its
12

13   principal place of business located at 6330 Gulfton St, Suite 300, Houston, Harris County, Texas

14   77081. The principal purpose of Defendant is the collection of debts in this state and several
15
     other states, and Defendant regularly attempts to collect debts alleged to be due another.
16
            5. Defendant is engaged in the collection of debts from consumers using the mail and
17
     telephone. Defendant regularly attempts to collect consumer debts alleged to be due to another.
18

19   Defendant is a "debt collector" as defined by the FDCPA, 15 U.S.C. § 1692a(6).

20                                      IV. FACTUALALLEGATIONS
21          6. The debt that Defendant is attempting to collect on is an alleged obligation ofa
22
     consumer to pay money arising out of a transaction in which the money, property, insurance or
23
     services, which are the subject of the transaction, are primarily for personal, family, or household
24
25   purposes, whether or not such obligation has been reduced to judgment.

26          7. Within one (1) year preceding the date of this Complaint, Defendant, in connection

27   with the collection of the alleged debt, attempted to communicate with Plaintiff at her place of
28

                                                     - 2-
                                  COMPLAINT & DEMAND FOR JURY TRIAL
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 1   employment after being informed that this inconvenienced Plaintiff and/or was conduct

 2   prohibited by Plaintiffs employer.
 3
             8. Within one (I) year preceding the date of this Complaint, Defendant, in connection
 4
     with the collection of the alleged debt, communicated with Plaintiffs friend, who is not a co-
 5
     signer on the alleged debt, and the communication was not in a manner covered by §1692b of the
 6
 7   FDCPA.

 8           9. The natural consequences of Defendant's statements and actions were to unjustly
 9
     condenm and vilify Plaintiff for her non-payment of the debt she allegedly owed.
10
             10. The natural consequences of Defendant's statements and actions were to produce an
11
     unpleasant and/or hostile situation between Defendant and Plaintiff.
12

13           11. The natural consequences of Defendant's statements and actions were to cause

14   Plaintiff mental distress.
15
             12. Defendant utilized unfair and unconscionable means to collect on Plaintiff s alleged
16
     debt, by harassing Plaintiff at work and talking to third parties.
17
                                            V. CLAIM FOR RELIEF
18
19           13. Plaintiff repeats and realleges and incorporates by reference to the foregoing

20   paragraphs.
21           14. Defendant violated the FDCPA. Defendant's violations include, but are not limited
22
     to, the following:
23
                     (a) Defendant violated §1692b(2) of the FDCPA by telling a third party that th
24
25                        Plaintiff owes an alleged debt; and

26                   (b) Defendant violated §1692c(a)(3) of the FDCPA by communicating with th

27                        Plaintiff at the Plaintiff s place of employment when the Defendant knew    0

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                                   COMPLAINT & DEMAND FOR JURY TRIAL
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 1                      had reason to know that the Plaintiff s employer prohibits the Plaintiff fro

 2                      receiving such communication; and
 3
                    (c) Defendant violated §1692c(b) of the FDCPA by contacting a third party i
 4
                        counection with the collection of the alleged debt without the consent of th
 5
                        Plaintiff and the contact was not in a mauner covered by § 1692b
 6

 7                      FDCPA; and

 8                  (d) Defendant violated §1692d of the FDCPA by engaging in conduct the natura
 9
                        consequences of which is to harass, oppress, or abuse any person ir
10
                        connection with the collection of an alleged debt; and
11
                    (e) Defendant violated §1692Jofthe FDCPA by using unfair or unconscionabl
12
13                      means in connection with the collection of an alleged debt.

14
             15. Defendant's acts as described above were done intentionally with the purpose of
15
     coercing Plaintiff to pay the alleged debt.
16

17           16. As a result of the foregoing violations of the FDCPA, Defendant is liable to the

18   Plaintiff, Sherida Devine, for declaratory judgment that Defendant's conduct violated the
19
     FDCP A, actual damages, statutory damages, and costs and attorney fees.
20
21
        WHEREFORE, Plaintiff respectfully requests that judgment be entered against Defendant,
22
23   GC Services, LP, for the following:

24      A. Declaratory judgment that Defendant's conduct violated the FDCP A.

25      B. Actual damages.
26
        C. Statutory damages pursuant to 15 U.S.C. § 1692k.
27
         D. Costs and reasonable attorney fees pursuant to 15 U.S.C. § 1692k.
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                                  COMPLAINT & DEMAND FOR JURy TRIAL
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 1     E. Awarding Plaintiff any prtl"judgment and post-judgment interest as may be allowed und
 2           the law.
 3
       F. For such other and further relief as ilie Court may deem just and proper.
 4
                                    DEMAND FOR JURY TRIAL
 5
             PLEASE TAKE NOTICE iliat Plaintiff, Sherida Devine, demands trial by jury in this
 6
 7 action.
 S
                                               RESPECTFULLYSUBNITTTED,
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                                               PRICE LAW GROUP, APC
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1l
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                                               By:"" ,
12    DATED: April!5, 2013                     J ' e E. Smith, sq. (SBN 3816)
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17                                              Sherida Devine
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                                                  -s-
                                COMPLAINT & DEMAND FOR JURY TRlAL
